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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO


 OHIOANS AGAINST CORPORATE BAILOUTS, LLC,                          :   Case No. 2:19-CV-4466
 aka OHIOANS AGAINST CORPORATE BAILOUTS,                           :
                                                                   :   Judge _______________
 and
                                                                   :
 DAVID J. ECKERT,                                                  :
 and                                                               :
                                                                   :
 BRANDON S. LYNAUGH,                                               :
 and                                                               :
                                                                   :
 TREVOR J. VESSELS,                                                :
 and                                                               :
                                                                   :
 JOHN DOE #1,
                                                                   :
        Plaintiffs,                                                :
 v.                                                                :
                                                                   :
 FRANK LaROSE, in his official capacity                            :
 as OHIO SECRETARY OF STATE,                                       :
                                                                   :
 and                                                               :
 ZACH KLEIN, in his official capacity                              :
 as CITY ATTORNEY OF COLUMBUS, OHIO,                               :
                                                                   :
        Defendants.                                                :
                                                                   :

                  COMPLAINT FOR DECLARATORY JUDGMENT AND
                   PRELIMINARY AND PERMANENT INJUNCTIONS



       Now come the Plaintiffs OHIOANS AGAINST CORPORATE BAILOUTS, LLC;

DAVID J. ECKERT; BRANDON S. LYNAUGH; TREVOR J. VESSELS; and JOHN DOE #1,

by and through their undersigned counsel, and allege as follows:
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                                         INTRODUCTION

       1.     In this complaint, Plaintiffs seek a declaratory judgment, together with preliminary

and permanent injunctive relief enjoining the Defendants from enforcing against Plaintiffs certain

restrictions relating to the exercise of their referendum rights under the Ohio Constitution, as well

as their rights to freedom of speech, freedom to petition the government for redress, and freedom

of association under the First Amendment of the United States Constitution and their right to equal

protection of the law under the Fourteenth Amendment to the United States Constitution.

Specifically, Plaintiffs challenge and seek the following:

         a.    In Count One, Plaintiffs seek to enjoin the enforcement of the requirement in Ohio

               Revised Code § 3501.381 that any person who compensates another person, or is

               compensated by another person, for supervising, managing, or otherwise organizing

               any effort to obtain signatures for a statewide referendum petition must pre-register

               with the Secretary of State by filing a “Form 15” before engaging in core political

               speech. Ohio Revised Code § 3501.381 is unconstitutional because:

                (i)     the statute imposes pre-registration mandates upon the proponent of a

                        statewide candidate, or initiative or referendum issue, but not upon those

                        actively opposing such advocacy (including circulating a contra-petition)

                        and, thus, constitutes a content-based regulation of core political speech that

                        does not satisfy the requirements of strict scrutiny;

                (ii)    the statute does not provide the heightened level of clarity and precision

                        demanded of criminal statutes implicating First Amendment rights and,

                        thus, does not sufficiently apprise regulated parties of what is specifically




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                  required of them to avoid the draconian and criminal penalties, as well as

                  allowing for enforcement in an arbitrary and discriminatory manner; and

          (iii)   the statute imposes undue burdens upon the fundamental rights of freedom

                  of speech, freedom to petition the government for redress, and freedom of

                  association without being substantially related to important governmental

                  interests that sufficiently outweigh the burden imposed upon First

                  Amendment rights.

     b.   In Count Two, Plaintiffs seek injunctive relief and a declaratory judgment that the

          procedure set forth in Ohio Rev. Code § 3519.01(B), which includes the requirement

          that proponents of a referendum petition submit and obtain governmental approval

          of a “summary” of their referendum before any petitions may be circulated. The

          statute and its requirements severely impact and burden the full and robust exercise

          of Plaintiffs’ fundamental right to vote and their rights to freedom of political

          speech, freedom to petition the government for redress, and freedom of association,

          as the statute severely reduces the constitutionally-permitted number of days by

          which proponents of a referendum may gathering signatures.

     c.   In Count Three, Plaintiffs seek to enjoin the enforcement of the mandate in Article

          II, Section 1g of the Ohio Constitution that violates the “one-man, one-vote”

          principle embodied in the Fourteenth Amendment as such provision requires a

          certain distribution of signatures on an initiative or referendum petition between all

          of the counties in the State of Ohio thus, unconstitutionally amplifying the voice and

          advocacy of certain voters over others.




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                                            PARTIES

       2.   Plaintiff OHIOANS AGAINST CORPORATE BAILOUTS, LLC, aka OHIOANS

AGAINST CORPORATE BAILOUTS (the “COMMITTEE”) is a ballot issue political action

committee seeking to subject certain portions of Amended Substitute House Bill 6 (“H.B. 6”) to

the Ohio voters for their approval or rejection (the “Referendum Petition”).

       3.   Plaintiffs DAVID J. ECKERT, BRANDON S. LYNAUGH, and TREVOR J.

VESSELS are residents and electors of Franklin County, Ohio. They are members of the

COMMITTEE and are the committee of individuals designated under Ohio Rev. Code § 3519.02

to represent the petitioners in all matters concerning or relating to the Referendum Petition.

BRANDON LYNAUGH is the Treasurer of the COMMITTEE. These Plaintiffs have signed

numerous statewide petitions and desire to sign such petitions in the future. These Plaintiffs also

desire and intend to be involved in ballot question committees for future statewide initiative or

referendum issues, which will include being compensated to supervise, manage, and collect

signatures for statewide initiative and referendum petitions in Ohio.

       4.   Plaintiff JOHN DOE #1 is an individual who has worked in coordinating and

supervising petition-signature-gathering efforts in Ohio in the past and who desires and intends to

assist in the petition-signature-gathering effort by the COMMITTEE.            JOHN DOE #1 has

contacted the COMMITTEE about working as a manager of a team of petition circulators and to

be compensated as such. Based on the prevalent harassment and hostility that petition circulators

for the COMMITTEE have faced with respect to the Referendum Petition, however, JOHN DOE

#1 will not participate as a manager of a petition circulation team as he is required to file a Form

15 so as to be in compliance with Ohio Rev. Code § 3501.381. JOHN DOE #1 desires to exercise

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fully and robustly his First Amendment rights to freedom of speech, freedom to petition the

government for redress, and freedom of association, but to do so anonymously. JOHN DOE #1

will not participate in the initiative and referendum process as a paid-petition manager as he is

required to file the Form 15 with FRANK LaROSE, the Secretary of State, and as such filing will

be made public by FRANK LaROSE. Absent injunctive relief, JOHN DOE #1 will not become a

paid-petition-circulation manager and will forgo the full and robust exercise of his constitutional

rights.

          5.   All individual Plaintiffs also desire and intend to be involved in ballot question

committees for future statewide initiative or referendum issues in Ohio, including being

compensated to supervise, manage, and collect signatures for such statewide initiative and

referendum petitions.

          6.   Defendant FRANK LAROSE is the Ohio Secretary of State and is named in his

official capacity. Pursuant to Ohio law, the Secretary’s statutory duties as set forth in Ohio Rev.

Code § 3501.05 include: (i) reviewing and examining referendum petitions for compliance with

Ohio law (including Ohio Rev. Code § 3501.381) and, ultimately, certifying (or rejecting) the

measure sought to be referred in the referendum petition for placement on the ballot; and (ii)

reporting a failure to comply with the pre-registration requirements of Ohio Rev. Code § 3501.381

to the relevant criminal enforcement agency.

          7.   Defendant ZACH KLEIN is the City Attorney of Columbus, Ohio, and, as such, is

responsible under state law for criminal enforcement of Ohio Rev. Code § 3501.381 in the

City of Columbus. ZACH KLEIN is named herein in his official capacity only.




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                                 JURISDICTION AND VENUE

        8.   The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331,

in that this action arises under the First and Fourteenth Amendments to the United States

Constitution; under 28 U.S.C. § 1343(a)(3), because it is brought to redress deprivations, under

color of state law, of rights, privileges and immunities secured by the United States Constitution;

under 28 U.S.C. § 1343(a)(4), because it seeks to secure equitable relief under Acts of Congress,

specifically 42 U.S.C. § 1983, that provides a cause of action for the protection of civil and

constitutional rights; under 28 U.S.C. § 2201(a) and Federal Rule of Civil Procedure 57, because

it is an action to secure declaratory relief; under 28 U.S.C. § 2202 and Federal Rule of Civil

Procedure 65, because it seeks to secure preliminary and permanent injunctive relief; and under

42 U.S.C. § 1988 in that Plaintiffs pray for relief regarding costs, including reasonable attorneys’

fees.

        9.   Venue in this action is proper within this judicial district and division pursuant to 28

U.S.C. § 1391(b) and Local Rule 82.1, in that the Defendants are situated within this judicial

district and division.



              ALLEGATIONS IN SUPPORT OF ALL CLAIMS FOR RELIEF

The Constitutional Framework for the Initiative and Referendum Process in Ohio

        10. The Ohio Constitution expressly reserves the right of referendum to the people.

Indeed, in Article II, Section 1 of the Ohio Constitution, the people have reserved expressly “the

power to adopt or reject any law, section of any law or any item in any law appropriating money

passed by the general assembly.”




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        11. The basic requirements for a referendum petition are set forth in Article II, Sections

1c & 1g of the Ohio Constitution. To submit a law enacted by the General Assembly to the electors

through referendum, proponents must submit, within 90 days after the law has been filed by the

Governor with the Ohio Secretary of State, a petition containing signatures of registered electors

totaling six percent of the electors who voted in the last gubernatorial election. The law does not

go into effect until after this 90-day period. Ohio Const. art. II, sect. 1c.

        12. The number of signatures that a referendum petition must contain is equal to six

percent of the total number of votes cast for the office of governor at the immediately preceding

election for that office. For example, in 2019, the number of signatures that must be submitted to

qualify a referendum petition for the ballot is 265,774.1

        13. If the referendum petition is submitted prior to 60 days before the next succeeding

general election and contains a sufficient number of valid signatures, the referendum is submitted

to the voters at that election; if such a petition is submitted subsequent to 60 days before the next

general election, the referendum is submitted to the voters at the general election in the following

year.

        Procedural Requirements

        14. Section 1g, Article II of the Ohio Constitution contains detailed procedural

requirements for referendum petitions, including the following:

             a.    A referendum petition may be presented in separate parts, but each part must

             contain a full and correct copy of the title and text of the law sought to be referred.




 1
https://www.sos.state.oh.us/globalassets/elections/historical/governors_percentage_chart_20182.
xlsx (last checked October 4, 2019).
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             b.    Each signer must be an elector of the state and shall place on such petition after

             his name the date of signing and his place of residence.

             c.    To each part of such petition shall be attached the statement of the circulator,

             as may be required by law, that he witnessed the affixing of every signature.

             d.    The referendum petition and the signatures on the referendum part-petitions are

             presumed to be “in all respects sufficient,” unless they are proved otherwise not later

             than 40 days before the election, in which case the petitioner is afforded an additional

             10 days to submit additional signatures.

       15. Section 1g also provides in detail the method of preparing arguments and explanations

of the law to be referred, by proponents and opponents of the law, and provides for the full text of

the law along with the arguments and explanations to be published by the Ohio Secretary of State

in newspapers of general circulation in every county of Ohio.

       County Distribution Rule-Distribution Mandate

       16. In addition to requiring a minimum number of valid signatures on a petition, Article

II, Section 1g of the Ohio Constitution further requires that the referendum petition bear the

signatures of at least three percent of the electors who voted in the last gubernatorial election from

no less than 44 of the 88 counties in the State of Ohio. This requirement, which also applies to

initiative petitions, is hereinafter referred to as the “County Distribution Rule”.

       17. Similar to the standard for the total number of signatures, for a county to be included

as one of the 44 counties, i.e., for its “vote” as a county to count to satisfying the county-

distribution mandate, the number of signatures that must be submitted from a county is based on

the total number of votes for governor in that county that were cast in the last gubernatorial

election.

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       18. For example, in order for the “vote” of the electors in Cuyahoga County to count

toward satisfying the county-distribution mandate for a referendum petition in 2019, the

referendum petition must contain at least 14,569 valid signatures of electors from that county.

       19. But in order for the “vote” of the electors of Vinton County to count toward satisfying

the County Distribution Rule for a referendum petition in 2019, the referendum petition need

contain only 121 valid signatures of electors from that county.


       Statutes Regulating the Referendum Process

       20. In addition to the detailed and “self-executing” provisions in Article II, Section 1g of

the Ohio Constitution, that Section also grants limited authority to the Ohio General Assembly to

enact laws to “facilitate” the exercise by Ohio citizens of their constitutionally-guaranteed right of

referendum. Indeed, Article II, Section 1g of the Ohio Constitution concludes, as follows:

               The foregoing provisions of this section shall be self-executing, except as
               herein otherwise provided. Laws may be passed to facilitate their operation,
               but in no way limiting or restricting either such provisions or the powers
               herein reserved.

       21. Pursuant to this limited grant of authority, the Ohio General Assembly has enacted

legislation to ostensibly facilitate the statewide referendum process. The legislation is codified in

Chapter 3519 of the Ohio Revised Code. The Ohio General Assembly has also enacted several

general petition requirements in Chapter 3501 of the Ohio Revised Code that also apply to a

statewide-referendum petition.

       22. Although certain statutes in these Chapters arguably facilitate the reserved power of

referendum, other such statutes restrict on their face that reserved power, in violation of both the

Ohio Constitution and the United States Constitution.             Plaintiffs’ claims challenge the

constitutionality of two of these statutory provisions.

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       Summary Prerequisites

       23. Ohio Revised Code § 3519.01(B) requires proponents of a referendum petition, prior

to circulating their referendum petition, to submit a preliminary petition containing at least 1,000

signatures of Ohio electors and a proposed “summary” of the law sought to be referred by

referendum to the Secretary of State and Attorney General.

       24. This “Summary Statute”, i.e., Ohio Revised Code § 3519.01(B), provides:

               (B) (1) Whoever seeks to file a referendum petition against any law … shall,
               by a written petition signed by one thousand qualified electors, submit the
               measure to be referred and a summary of it to the secretary of state and, on
               the same day or within one business day before or after that day, submit a
               copy of the petition, measure, and summary to the attorney general.

               (2) Not later than ten business days after receiving the petition, measure,
               and summary, the secretary of state shall do both of the following:

                       (a) Have the validity of the signatures on the petition verified;

                       (b) After comparing the text of the measure to be referred with the
                       copy of the enrolled act on file in the secretary of state’s office
                       containing the law, section, or item of law, determine whether the
                       text is correct and, if it is, so certify.

               (3) Not later than ten business days after receiving a copy of the petition,
               measure, and summary, the attorney general shall examine the summary
               and, if in the attorney general’s opinion, the summary is a fair and truthful
               statement of the measure to be referred, so certify.

       25. Other sections of Chapter 3519 of the Ohio Revised Code give effect to the Summary

Statute in terms of a referendum proponent’s eligibility to qualify a referendum petition for the

ballot: Ohio Revised Code § 3519.05 requires that the Attorney General’s certification appear on

the referendum petition; Ohio Revised Code § 3519.06 states that a referendum petition is not

properly verified if it does not contain, inter alia, the summary and certification required by Ohio

Revised Code §§ 3519.01(B) & 3519.05; and, finally, Ohio Revised Code § 3519.15 provides that



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the signatures on part-petitions that are not properly verified are not to be counted by the Secretary.

(These statutes, along with the Summary Statute, are referred to as the “Summary Prerequisites”).

        26. The Ohio Constitution does not require a referendum petition to include a summary

certified by the Attorney General, nor does it require the petition to be certified by the Secretary

of State. To the contrary, Article II, Section 1c of the Ohio Constitution states:

                When a petition, signed by six per centum of the electors of the state and
                verified as herein provided, shall have been filed with the secretary of state
                within ninety days after any law shall have been filed by the governor in the
                office of the secretary of state, ordering that such law … be submitted to the
                electors of the state for their approval or rejection, the secretary of state
                shall submit to the electors of the state for their approval or rejection such
                law … at the next succeeding regular or general election in any year
                occurring subsequent to sixty days after the filing of such petition, and no
                such law, section or item shall go into effect until and unless approved by a
                majority of those voting upon the same. (Emphasis added.)

        27. Despite this clear language, the Secretary of State refuses to accept referendum

petitions for filing unless they contain both the Secretary’s and the Attorney General’s

certification, neither of which are required by the Ohio Constitution, neither of which facilitate the

operation of the reserved right of the people to a referendum, and both of which limit and restrict

the people in their exercise of that right, as well as their rights to freedom of speech, freedom to

petition the government for redress, and freedom of association

        28. The 90-day period for collecting signatures and submitting a petition are not tolled

while the Attorney General and Secretary of State are reviewing and approving the summary and

petition at their discretion.

        29. Referendum petitions in the past have consistently suffered the same fate and have

had their rightful 90 days severely restricted as a result of the Summary Prerequisites. For

example, in 2011, 47 days elapsed before the summary of a referendum petition on H.B. 194 was



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certified after having to resubmit the proposed petition. And in 2008, a petition to state a

referendum to repeal the Payday Lending Bill #3 was delayed 37 days.

       Pre-Registration Mandate Related to Petition Organizing Efforts

       30. An additional burden imposed by the Ohio General Assembly on the right of

referendum and, with it, rights to freedom of speech, freedom to petition the government for

redress, and freedom of association, is found in Ohio Rev. Code § 3501.381. This statute provides:

               (A) (1) Any person who will receive compensation for supervising,
               managing, or otherwise organizing any effort to obtain signatures for a …
               statewide referendum petition shall file a statement to that effect with the
               office of the secretary of state before any signatures are obtained for the
               petition or before the person is engaged to supervise, manage, or otherwise
               organize the effort to obtain signatures for the petition, whichever is later.

               (2) Any person who will compensate a person for supervising, managing,
               or otherwise organizing any effort to obtain signatures for a … statewide
               referendum petition shall file a statement to that effect with the office of the
               secretary of state before any signatures are obtained for the petition or
               before the person engages a person to supervise, manage, or otherwise
               organize the effort to obtain signatures for the petition, whichever is later.

               (B) The secretary of state shall prescribe the form and content of the
               statements required under division (A) of this section.

               (C) Whoever violates division (A) of this section is guilty of a misdemeanor
               of the first degree, and the petition for which a person was compensated for
               supervising, managing, or otherwise organizing the effort to obtain
               signatures shall be deemed invalid.

       31. The Ohio Supreme Court has held that, if any forms required to be filed under Ohio

Rev. Code § 3501.381 are not submitted, then the entire petition, not a part-petition, must be

invalidated. Ohio Renal Assn. v. Kidney Dialysis Patient Protection Amendment Commt., 154

Ohio St.3d 86, 92, 2018-Ohio-3220, ¶24.

       32. According to an opinion issued by the Ohio Attorney General shortly after the law

was enacted, Ohio Rev. Code § 3501.381 “is part of Ohio’s ‘arsenal’ to ‘police lawbreakers among

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petitions circulators.’ It allows the State to identify those who will be responsible for supervising

or organizing signature gathering efforts, and thereby hold them accountable for any fraudulent

practices….” Ohio Att’y Gen’l Opin. No. 2006-004, at p. 2-39. Notably, the opinion failed to

recognize that the statute only allows the State to identify those who will be compensated for

supervising or organizing signature gathering efforts. The opinion did say, however, that the

statute “works hand-in-hand” with Ohio Rev. Code § 3599.111, which prohibits any person from

paying petition circulators on a “per signature” or “per volume” basis and mandates that paid

circulators be paid only on the basis of time worked. Ohio Att’y Gen’l Opin. No. 2006-004, at p.

2-38. But this paid-circulator statute that was enacted to partner with the pre-registration mandate

of Section 3501.381 was struck down by the Court in Citizens for Tax Reform v. Deters, 462 F.

Supp.2d 827 (S.D. Ohio 2006), in which the Court held that the section imposes a severe burden

on the political rights of petition proponents, a burden neither justified by a compelling state

interest nor narrowly tailored to achieve any such interest. The Court declared the statute

unconstitutional and enjoined the State from enforcing it. That decision was upheld by the Sixth

Circuit Court of Appeals. Citizens for Tax Reform v. Deters, 518 F.3d 375 (6th Cir. 2008).

       33. As required by Ohio Rev. Code § 3501.381, the Secretary of State has prescribed a

form – identified by the Secretary as “Form 15” – which petitioners are required to use in order to

comply with the statute.2 Form 15 requires the name of the individual or entity that will be

receiving or giving compensation; the name of the referendum supported; the dates that the petition

will be circulated; and the address, phone number, and email address of the named person.




 2
    Form 15 is available on the Secretary’s website at
https://www.sos.state.oh.us/globalassets/elections/forms/15.pdf
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The COMMITTEE’s Current Referendum Petition Effort

       Efforts to Comply with the Summary Prerequisite

       34. The COMMITTEE is in the midst of a time-sensitive effort to qualify for the ballot,

through a petition effort a referendum on certain sections of H.B. 6, which authorizes the collection

of an electric surcharge on Ohio retail customers over the course of several years, which charges

will be placed in a fund and paid out to owners of nuclear-and-solar-powered electric plants over

those years, as well as several other provisions, including the reduction of renewable energy

requirements in the state.

       35. H.B. 6 was enacted by the General Assembly and signed by the governor on July 23,

2019. H.B. 6 is scheduled to become effective on October 22, 2019. Thus, under Article II,

Section 1c of the Ohio Constitution, in order for H.B. 6 to be submitted to the electors for their

approval or rejection at the general election in 2020, the COMMITTEE is required to submit to

the Secretary, by no later than October 22, 2009, a referendum petition containing the valid

signatures of 265,774 Ohio electors, with the additional requirement that a certain minimum of

signatures be obtained from at least 44 of the 88 counties in the State of Ohio.

       36. In furtherance of the exercise of its referendum rights, on Monday, July 29, 2019, the

COMMITTEE filed a proposed petition, with a summary and 1,000 signatures, with the Ohio

Attorney General and Secretary of State. This initial proposed petition’s summary was rejected

by the Ohio Attorney General fourteen (14) days later on Monday, August 12, 2019.

       37. On Friday, August 16, 2019, the COMMITTEE filed with the Ohio Secretary of State

and the Ohio Attorney General a second proposed summary of its referendum petition. Thirteen

(13) days later, on Thursday August 29, 2019, the Ohio Attorney General certified that the

proposed summary of H.B. 6 set forth in the proposed petition was a fair and truthful statement of

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H.B. 6. The next day, Friday, August 30, 2019, the Ohio Secretary of State certified that the initial

submission over a month earlier contained a sufficient number of valid signatures and that an

accurate copy of H.B. 6 was attached to the proposed petition.

        38. Thus, over a month after passage of H.B. 6 and a month after the COMMITTEE first

tendered its proposed summary and initial set of signatures to the Ohio Attorney General and the

Secretary of State, could finally begin circulating it petitions so as to fully and robustly exercise

its rights to freedom of speech, freedom to petition the government for redress, and freedom of

association.

        39. The COMMITTEE has been engaged in signature gathering since the August 30, 2019

certification.

        40. As a result of the Summary Prerequisites and the Form 15 requirement, the

COMMITTEE was not able to begin to exercise its referendum rights until fully 38 days into the

90-day collection period, nearly half of the time allotted.

        41. The COMMITTEE’s Referendum Petition and associated activities have been

confronted and challenged by an organized, well-funded and overly aggressive opposition effort

with support from the power companies that stand to benefit financially from H.B. 6. The tactics

against the COMMITTEE and its supporters and efforts have involved harassment, assault, and

bribery of petition circulators. These illegal activities have further cut into the 90-days given to

exercise their referendum rights and secure the right to a referendum by the Ohio electorate.

        42. Unlike the COMMITTEE and its supporters which must comply with the pre-

registration mandates in Ohio Rev. Code § 3501.381, the organized and well-funded efforts in

opposition to the efforts of the COMMITTEE are not subject to the same or similar pre-registration

requirements.

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       43. The COMMITTEE and its supporters must comply with the pre-registration mandates

of Ohio Rev. Code § 3501.381 before fully and robustly exercising their fundamental rights of

freedom of speech, freedom to petition the government for redress, and freedom of association

with respect to the referendum-petition effort; the organized and well-funded opposition has not

such pre-registration mandate.



       Efforts to Comply with the Pre-Registration Mandate of Ohio Rev. Code § 3501.381

       44. The requirement under Ohio Rev. Code § 3501.381 that petition managers,

supervisors, organizers, and circulators file a Form 15 with the Secretary of State disclosing their

identities, addresses, and personal information has made the harassment and intimidation efforts

possible and has discouraged persons from participating in the referendum process.

       45. The COMMITTEE has contracted with Advanced Micro Targeting, Inc., (“AMT”) to

help supervise and manage the collection of signatures in support of its referendum petition.

       46. The COMMITTEE started filing Form 15s on July 26, 2019, which is before its

proposed petition was even submitted to the Ohio Attorney General or the Secretary of State.

       47. To date, the COMMITTEE has filed one thousand one hundred seventy-five (1,175)

Form 15s from its managers, supervisors, and circulators.

       48. An abundance of caution in having individuals complete and file Form 15s is

undertaken because Ohio Rev. Code § 3501.381 has severe and draconian penalties for the singular

failure to timely and fully complete with the pre-registration mandates. Ohio Rev. Code §

3501.381 imposes criminal penalties for any violation of its pre-registration mandates and, upon a

single violation of its pre-registration mandates, the entire petition effort would be invalidated.




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       49. The COMMITTEE collects Form 15s through AMT from all individuals and vendors

who manage, supervise, or circulate before they can begin working on the petition effort. These

Form 15s are then hand-delivered to the Secretary of State by the COMMITTEE.

       50. AMT is required to expend hundreds of hours collecting and processing all the Form

15s required, as well as keeping a record and database of those submitted.

       51. Michael Roberson, the CEO of AMT, estimates that he has had to spend 40 hours per

week on the collecting and processing of Form 15 information and forms.

       52. One staff member of AMT is required to spend 2-3 hours every day collecting and

processing Form 15s.

       53. Another staff member of AMT estimates that he must spend 10-15% of his time

collecting and processing Form 15 information.

       54. Yet another staff member of AMT estimates that she is required to spend 1-2 hours a

day on Form 15 requirements.

       55. And another staff member of AMT estimates that she has had to spend 4-5 hours every

day working on Form 15-related collection and processing.

       56. A fifth staff member of AMT estimates that he has spent 5 hours a day on the collection

and processing of Form 15 information and forms. He estimates that a new circulator requires 1-

8 hours to process their Form 15 in order to comply with the requirements of Ohio law. He also

estimates that AMT has lost 15-20 potential workers because of the burden involved in complying

with the Form 15 process.

       57. In short, the COMMITTEE and its team must dedicate hundreds of hours and the

equivalent of several full-time staff in order to comply with the pre-registration mandate.




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Harassment and Intimidation Resulting from the Pre-Registration Mandate

       58. The name, address, and other personal information of every compensated individual

and vendor involved in the referendum circulation process is disclosed by the Secretary of State

through the pre-registration mandate.

       59. As a result, the organized, well-funded and overly aggressive opposition to the

Referendum Petition has been able to target individuals and vendors and engage in harassment and

other hostilities, including violence, in an effort to interfere with and prevent the full and robust

exercise of the Plaintiffs’ and others’ fundamental right to freedom of speech, freedom to petition

the government for redress, freedom of association, through the collection of signatures on the

Referendum Petition.

       60. Several examples of this harassment and intimidation have been widely reported in

news media.3



 3
       E.g., 'Blockers' Should Not Resort to Intimidation of Petitioners, Marietta Times, Oct. 4,
2019, available at http://www.mariettatimes.com/opinion/editorials/2019/10/blockers-should-
not-resort-to-intimidation-of-petitioners/
  Ohio AG Investigates New Allegations in Fight Over Energy Bill Referendum, Dayton Daily
News, Oct. 3, 2019, available at https://www.daytondailynews.com/news/local/ohio-investigates-
new-allegations-fight-over-energy-bill-referendum/CpAY57u8nKZFUW9mokiWDI
  Three Political Petitioners Arrested at Cincinnati State, Cincinnati Enquirer, Oct. 3, 2019,
available at https://www.cincinnati.com/story/news/crime/crime-and-courts/2019/10/03/three-
political-petitioners-arrested-cincinnati-state/3844326002/
  Nuclear Bailout Supporters Clashing with Referendum Petitioners in the Field, Statehouse News
Bureau, Oct. 1, 2019, available at https://www.statenews.org/post/nuclear-bailout-supporters-
clashing-referendum-petitioners-field ;
 Ohio AG Dave Yost Warns HB 6 Petition “Blockers” About Aggressive Tactics, Norwalk
Reflector, Oct. 1, 2019, available at http://www.norwalkreflector.com/frontpage/2019/10/01/
Ohio-AG-Dave-Yost-warns-HB-6-petition-blockers-about-aggressive-tactics
  Attorney General Yost to Address Harassment and Intimidation in State’s Petition Process,
Cleveland WEWS-TV, Sept. 30, 2019, available at https://www.news5cleveland.com/news
/state/attorney-general-yost-to-address-harassment-and-intimidation-in-states-petition-process ;
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       61. The harassment and intimidation have become so prevalent and widespread that the

Ohio Attorney General has formally written to the United States Attorneys of the Northern and

Southern Districts of Ohio to alert them of the targeting, harassment, and intimidation of petition

circulators and signers.4 The reason given for the letter was to alert the U.S. Attorneys that some

of the harassment and intimidation may involve violations of federal law, which “makes it a crime

for two or more persons to conspire to injure, oppress, threaten or intimidate any person in the free

exercise of any right secured by the U.S. Constitution, including the right to circulate petitions.”

       62. Because of the harassment and intimidation resulting from the disclosure of personal

information through the pre-registration mandate, JOHN DOE #1, who desires and plans to join

the referendum effort as a paid manager of a circulation team, will not file a Form 15 and, therefore,

is forced to forgo his First Amendment speech and associational rights to the referendum and

petition process.

                                      COUNT ONE
                       (CHALLENGE TO PRE-REGISTRATION MANDATE
                    IN OHIO REV. CODE § 3501.381 UNDER 42 U.S.C. § 1983)

       63. Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten herein.




  Yost warns House Bill 6 supporters to not harass referendum workers, The Columbus Dispatch,
Sept. 30, 2019, available at https://www.dispatch.com/news/20190930/yost-warns-house-bill-6-
supporters-to-not-harass-referendum-workers?template=ampart
  Opponents of House Bill 6 call “dirty tricks” on fake “petition”, The Columbus Dispatch, Sept.
23, 2019, available at https://www.dispatch.com/news/20190923/opponents-of-house-bill-6-call-
dirty-tricks-on-fake-petition
 4
       The letter of Ohio Attorney General Dave Yost to the United States Attorneys for Ohio,
Ben Glassman and Justin Herdman, is available at https://www.ohioattorneygeneral.gov/Files/
Briefing-Room/News-Releases/Letter-for-US-Attorney-in-Northern-Southern-Distri.aspx .
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          64. Ohio law requires certain persons who are compensated for their involvement in the

initiative and referendum process to register with the Ohio Secretary of State before engaging in

the process. Ohio Rev. Code § § 3501.381.

          65. Neither this statute nor any other provision of Ohio law requires persons who

supervise, manage, or otherwise organize an effort to obtain signatures on a statewide petition on

a volunteer basis to register with the Ohio Secretary of State.

          66. Neither this statute nor any other provision of Ohio law requires persons who

supervise, manage, or otherwise organize, for compensation or not, in opposition to an effort to

obtain signatures on a statewide petition on to register with the Ohio Secretary of State.

          67. In July 2019, individuals and entities began filing Form 15s with the Secretary and are

continuing to file them throughout the effort, as mandated by Ohio Rev. Code § 3501.381.

          68. Plaintiff JOHN DOE #1 desires and plans to participate in the referendum effort as a

paid petition managers but will not do so unless the pre-registration mandates in Ohio Rev. Code

§ 3501.381 are removed, for fear of harassment and intimidation from opponents of the referendum

effort.

          69. The harassment and intimidation by the organized, well-funded and overly aggressive

opposition to the Referendum Petition are made possible by the publication and dissemination of

personal identifying information by FRANK LaROSE through the release of the Form 15s filed in

his office.

          70. All alleged acts or threatened acts of the FRANK LaROSE, by and through his

respective officers, agents, servants, employees, and persons acting at his behest, were done and

continue to be done under the color and pretense of state law.




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        71. As alleged in greater detail below, the pre-registration mandate to file Form 15s

violates Plaintiffs’ federal constitutional rights, including the fundamental rights to freedom of

speech, freedom to petition the government for redress, freedom of association, and the right to do

so anonymously, as well as the right to due process of law, all of which are guaranteed by the First

and Fourteenth Amendments to the United States Constitution.

        72. As a direct result of the violation and threatened violation of Plaintiffs’ constitutional

rights by FRANK LaROSE and Ohio Rev. Code § 3501.381, Plaintiffs are suffering and will

continue to suffer irreparable harm for which there is no adequate remedy at law.

                                        COUNT ONE:
                                FIRST CLAIM FOR RELIEF
  The Pre-Registration Mandate Violates Plaintiffs’ Rights to Freedom of Speech, Freedom to
  Petition the Government for Redress, and Freedom of Association, and the Freedom to do so
                   Anonymously, all as Guaranteed by the First Amendment

        73. Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten herein.

        74. The pre-registration mandate in Ohio Rev. Code § 3501.381 requires a person who

will compensate or be compensated for supervising, managing, or otherwise organizing an

initiative or referendum petition effort to file a statement before any part-petitions are circulated.

But, to the extent that this requirement and disclosure only applies to speech supporting a

referendum petition and not to speech opposing such an effort, the mandate constitutes a content-

based restriction on speech.

        75. The pre-registration mandate in Ohio Rev. Code § 3501.381 is not narrowly tailored

to achieve a compelling government interest.

        76. The pre-registration mandate in Ohio Rev. Code § 3501.381 is unconstitutional both

on its face and as-applied to Plaintiffs.




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       77. The penalty for violating the pre-registration mandate statute is not narrowly tailored

to achieve a compelling government interest.

                                         COUNT ONE:
                                SECOND CLAIM FOR RELIEF
                          The Pre-Registration Mandate Statute Violates
         Plaintiffs’ Right to Due Process, as Guaranteed by the Fourteenth Amendment

       78. Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten herein.

       79. The pre-registration mandate in Ohio Rev. Code § 3501.381, to the extent it may be

interpreted to require invalidation of an entire referendum petition for noncompliance and imposes

criminal penalties for violations of the filing requirement, violates Plaintiffs’ right to due process

under the Fourteenth Amendment because the statute is unconstitutionally vague and overbroad.

       80. The pre-registration mandate in Ohio Rev. Code § 3501.381 fails to provide people of

ordinary intelligence a reasonable opportunity to understand what conduct it prohibits and,

specifically, whether he or she is subject to the requirements to file a Form 15.

       81. Through expansive, though indefinite, language, Ohio Rev. Code § 3501.381 applies

not only to a person supervising or managing a specific signature gathering effort, but to “any

effort” by which petition signatures are obtained.

       82. By the inclusion of the phrases “otherwise organizing” and tying it to “any effort to

obtain signatures”, exactly how far and what conduct triggers the pre-registration requirements of

Ohio Rev. Code § 3501.381 is not readily apparent.

       83. The Ohio Attorney General further added to the uncertainty or vagueness concerning

the scope or application of Ohio Rev. Code § 3501.381 when he opined that candidate campaign

staffs were not subject to the pre-registration mandates of Ohio Rev. Code § 3501.381 because

they were “not retained principally or even incidentally to serve as petition signature gatherers,”



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Ohio Att’y Gen’l Opin. No. 2006-004, at p. 2-40, though no indication exists when the threshold

of “principally” or “incidentally” serving a petition-signature gathers is crossed.

       84. The pre-registration mandate in Ohio Rev. Code § 3501.381 also authorizes or even

encourages arbitrary and discriminatory enforcement.

       85. The Ohio Attorney General has opined that “the requirements of R.C. 3501.381

involves questions of fact that must be resolved on a case-by-case basis by the Secretary of State.”

Ohio Att’y Gen’l Opin. No. 2006-004, at p. 2-42. And, thus, absent more objective standards,

enforcement personnel, including FRANK LaROSE and ZACH KLEIN may readily enforce the

draconian and criminal sanctions within Ohio Rev. Code § 3501.381 in an arbitrary and capricious

manner.

                                       COUNT ONE:
                                THIRD CLAIM FOR RELIEF
              The Pre-Registration Mandate Unduly Burdens Plaintiffs’ Rights to
 Freedom of Speech, Freedom to Petition Government for Redress and Freedom of Association,
      and the Freedom to do so Anonymously, all as Guaranteed by the First Amendment

       86. Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten herein.

       87. The pre-registration mandate in Ohio Rev. Code § 3501.381 requires a person who

will compensate or be compensated for supervising, managing, or otherwise organizing an

initiative or referendum petition effort to file a statement before petitions are circulated. By doing

so, the statute has a chilling effect on Plaintiffs’ First Amendment rights, including the freedom of

speech, freedom to petition government for redress, and freedom of association, and the freedom

to do so anonymously, all in violation of the First Amendment because Ohio Rev. Code § 3501.381

and the Form 15 facilitates harassment and intimidation of persons exercising their fundamental

First Amendment rights by participating in the referendum circulation process.




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       88. Ohio Rev. Code § 3501.381, to the extent it prescribes criminal penalties for

noncompliance, has a chilling effect and imposes a severe and unjustified burden upon the core

political speech and association rights, in violation of the First Amendment.

       89. Defendants cannot demonstrate that any interest of the State of Ohio in combating

election fraud are furthered by the disclosure requirement and that those interests outweigh the

significant First Amendment burden Ohio Rev. Code § 3501.381 imposes on political speech.

                                    COUNT TWO
                        (CHALLENGE TO SUMMARY PREREQUISITES
                                UNDER 42 U.S.C. § 1983)

       90. Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten herein.

       91. As alleged above, the Summary Prerequisites require referendum proponents, before

they may begin collecting signatures for that petition, but after the constitutionally-prescribed time

period for submission of a referendum petition has already begun, to obtain approval of a

“summary” of the measure from the Ohio Attorney General.

       92. All alleged or threatened acts of FRANK LaROSE, by and through his respective

officers, agents, servants, employees, and persons acting at his behest, were performed and

continue to be performed under the color and pretense of state law.

       93. The Summary Prerequisites, both on their face and as applied, violate Plaintiffs’

federal constitutional rights, including their fundamental right to vote, as well as their fundamental

rights to freedom of speech, freedom to petition the government for redress, and freedom of

association, as guaranteed by the First and Fourteenth Amendments to the United States

Constitution.




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        94. As a direct result of the FRANK LaROSE’s violation and threatened violation of

Plaintiffs’ federal constitutional rights, Plaintiffs are suffering and will continue to suffer

irreparable harm for which there is no adequate remedy at law.

                                          COUNT TWO:
                                   FIRST CLAIM FOR RELIEF
                 On Its Face, the Summary Prerequisite Violates Plaintiff Voters’
              Fundamental Right to Vote, as Guaranteed by the Fourteenth Amendment

        95. Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten herein.

        96. The Summary Prerequisites impose a severe burden on the Plaintiffs-voters’

fundamental right to vote.        Indeed, on its face, the Summary Prerequisites reduce the

constitutionally mandated 90-day period for signature gathering by a minimum of 15 days, from

90 to 75.

        97. If the Ohio Attorney General rejects a proposed summary, the 90-day signature-

collection period is further reduced by an additional 15 to 20 days.

        98.     Between 1912, when the Ohio Constitution was amended to include the right of

referendum, and 1929, nine referendum petitions qualified for the ballot. But since 1929, when a

summary requirement first was imposed, only two referendum petitions have qualified for the

ballot. In other words, in the 17 years before the requirement was imposed, at least one referendum

petition qualified for the ballot every other year. By way of contrast, in the nearly 80 years since

the Ohio General Assembly imposed this requirement, petitioners have only been able to qualify

two.5




   5
       Despite these statistics, in 2006, the Ohio General Assembly increased the signature
requirement for summary petitions from 100 to 1,000
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          99.     The Summary Prerequisites impose a severe, unjustified and unconstitutional

burden on Plaintiffs’ fundamental right to vote as guaranteed by the Due Process Clause of the

Fourteenth Amendment.

          100.    The Summary Prerequisites impose a severe restriction on the right to referendum

guaranteed under the Ohio Constitution.

                                            COUNT TWO:
                                   SECOND CLAIM FOR RELIEF
                    As Applied, the Summary Prerequisite Violates Plaintiff Voters’
                Fundamental Right to Vote, as Guaranteed by the Fourteenth Amendment

          101.    Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten

herein.

          102.    As applied, the Summary Prerequisites impose a severe burden on Plaintiff voters’

fundamental right to vote. Here, the Attorney General rejected the COMMITTEE’s first proposed

summary, thereby reducing the number of days for gathering signatures to 52, and severely

restricting the COMMITTEE’s ability to qualify a referendum petition on H.B. 6.

          103.    As a direct result of the Attorney General’s application of the Summary Statute to

the COMMITTEE’s proposed referendum effort, the Plaintiffs’ right to vote on H.B. 6 has been

severely impinged upon.

          104.    Thus, as applied, the Summary Prerequisites has imposed and continues to impose

a severe and unjustified burden on Plaintiffs’ fundamental right to vote as guaranteed by the Due

Process Clause of the Fourteenth Amendment.




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                                           COUNT TWO:
                                     THIRD CLAIM FOR RELIEF
                 On Its Face, the Summary Prerequisite Violates Plaintiffs’ Rights to the
                 Freedom of Speech, Freedom to Petition Government for Redress and
                  Freedom of Association, all as Guaranteed by the First Amendment

          105.     Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten

herein.

          106.     On its face, the Summary Prerequisites impose unreasonable and severe burdens

on Plaintiffs’ core political speech and association rights by:

                   (a) dramatically reducing the number of days that referendum proponents can

                       convey their message and attempt to persuade voters to favor political change;

                   (b) significantly increasing the cost of the referendum petition effort;

                   (c) rendering it less likely that referendum proponents will garner the number of

                       signatures necessary to qualify a referendum effort for the ballot; and thus,

                   (d) limiting referendum proponents’ ability to make a referendum effort the focus

                       of statewide discussion.

          107.     The imposition of these severe burdens on Plaintiffs’ First Amendment freedom of

speech, freedom to petition the government for redress, and freedom of association rights is

unjustified and are not outweighed by any significant governmental interest.

          108.     The Summary Prerequisites, to the extent that they: (i) require referendum

proponents to obtain the Attorney General’s certification of the content of a “summary” of the bill

before they are permitted to exercise their constitutional rights; (ii) afford the Ohio Attorney

General unfettered discretion in deciding whether to certify the proposed “summary;” and, (iii) do

not include appropriate procedural protections, constitutes a prior restraint on Plaintiffs’ freedom




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of speech in violation of the First and Fourteenth Amendments and a denial of due process in

violation of the Fourteenth Amendment.

          109.    Accordingly, the Summary Prerequisites on their face violates Plaintiffs’ rights to

freedom of speech, freedom to petition government for redress, and freedom of association under

the First and Fourteenth Amendments to the United States Constitution.

                                         COUNT TWO:
                                 FOURTH CLAIM FOR RELIEF
             As Applied, the Summary Prerequisite Violates the COMMITTEE’s Rights to
           the Freedom of Speech and Association, as Guaranteed by the First Amendment

          110.    Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten

herein.

          111.    As applied, the Summary Prerequisites impose unreasonable and severe burdens

on Plaintiffs’ rights to freedom of speech, freedom to petition government for redress, and freedom

of association by:

                 (a) taking from the COMMITTEE nearly one half of the constitutionally-provided

                     days in which it could convey its message and attempt to persuade voters in favor

                     of political change on H.B. 6;

                 (b) significantly increasing the cost of the alternative referendum petition effort;

                 (c) severely restricting the COMMITTEE’s ability to garner the number of

                     signatures it needed to qualify its referendum effort on H.B. 6 for the ballot; and

                 (d) severely restricting the COMMITTEE’s ability to make the referendum effort

                     on H.B. 6 the focus of statewide discussion for the 2020 general election.

          112.    The imposition of these undue and significant burdens on the COMMITTEE’s First

Amendment rights to the rights to freedom of speech, freedom to petition government for redress,



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and freedom of association was unjustified and were not outweighed by any significant

governmental interest.

          113.   The Summary Prerequisite, to the extent that it: (i) required the COMMITTEE to

obtain the Attorney General’s certification of the content of a “summary” of the bill before they

were permitted to exercise their constitutional right to referendum; (ii) afforded the Attorney

General unfettered discretion to use up additional time and ultimately reject the first of the

proposed “summaries;” and, (iii) did not include appropriate procedural protections against such

abuses, constituted a prior restraint on Plaintiffs’ freedom of speech in violation of the First and

Fourteenth Amendments.

          114.   Accordingly, as applied, the Summary Prerequisites violated Plaintiffs’ rights to

freedom of speech, freedom to petition government for redress, and freedom of association under

the First and Fourteenth Amendments to the United States Constitution and to due process under

the Fourteenth Amendment.

                                 COUNT THREE
                 (CHALLENGE TO COUNTY DISTRIBUTION REQUIREMENT
                              UNDER 42 U.S.C. § 1983)

          115.   Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten

herein.

          116.   In addition to the total signature requirement for a referendum petition, Article II,

Section 1g of the Ohio Constitution requires that the referendum petition bear the signatures of at

least three percent of the electors from no less than 44 of the 88 counties in the state.

          117.   Similar to the standard for the total number of signatures, for a county to be included

as one of the 44 counties (i.e., for its “vote” as a county to count) the number of signatures that




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must be submitted from a county is based on the total number of votes for governor in that county

that were cast in the last gubernatorial election.

          118.     For example, in order for the “vote” of the electors in Franklin County (where the

individual Plaintiffs reside and vote) to count toward satisfying the County Distribution Rule for a

referendum petition in 2020, the referendum petition must contain at least 14,620 valid signatures

of electors from that county.

          119.     But in order for the “vote” of the electors of Monroe County to count toward

satisfying the County Distribution Rule for a referendum petition in 2020, the referendum petition

need contain only 154 valid signatures of electors from that county.

          120.     According to the Ohio Department of Development’s 2018 Population estimate (the

“ODD estimate”), there are approximately 11,689,442 people who live in Ohio.6

          121.     According to the Secretary, as of November 6, 2018, there are 8,070,917 registered

voters in Ohio.

          122.     Ohio’s population is unevenly distributed throughout its 88 counties.

          123.     Indeed, according to the ODD estimate, 38% of Ohio’s population lives in its five

largest counties; 53% of Ohio’s population lives in the largest ten counties

          124.     In the 2018 Ohio gubernatorial election, 4,429,582 Ohio electors voted.

          125.     Based on that number, for a referendum petition to qualify for the ballot, it must

contain the valid signatures of 265,774 Ohio electors. In addition, the referendum petition must

also obtain the “vote” of 44 of Ohio’s 88 counties.




 6
     https://development.ohio.gov/files/research/P5007.pdf (last checked October 4, 2019).
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                                        COUNT THREE:
                                      CLAIM FOR RELIEF
                  The County Distribution Rule Violates Plaintiffs’ Rights to the
            Equal Protection of the Laws, as Guaranteed by the Fourteenth Amendment

          126.   Plaintiffs restate the allegations in the preceding paragraphs as if fully rewritten

herein.

          127.   All alleged acts or threatened acts of FRANK LaROSE, by and through his

respective officers, agents, servants, employees, and persons acting at her behest, were done and

continue to be done under the color and pretense of state law.

          128.   The County Distribution Rule, by assigning unevenly weighted participatory value

in the referendum process in inverse relation to the population of the county in which the voter

happens to reside, affords preferential treatment to residents of sparsely populated counties.

          129.   This disparate treatment of voters, based solely on their county of residence, dilutes

the vote of electors in more densely populated counties, which dilution violates the “one-man, one-

vote” requirement of the Equal Protection Clause of the Fourteenth Amendment.

          130.   The County Distribution Rule is not narrowly tailored to further a compelling

government interest.

   131.          As a direct result of violations of Plaintiffs’ constitutional rights by FRANK

LaROSE, Plaintiffs are suffering irreparable harm for which there is no adequate remedy at law.

          WHEREFORE, Plaintiffs pray for judgment against Defendants and ask that this Court:

   A.      Adjudge, decree and declare the rights and other legal relations of the parties to the

           subject matter in controversy in order that such declarations shall have the force and

           effect of final judgment and that the Court retain jurisdiction of this matter for the purpose

           of enforcing the Court’s Orders;



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  B.   Declare that the Statutes setting forth the Summary Prerequisites, both on their face and

       as applied to Plaintiffs, violate the First and Fourteenth Amendments to the United States

       Constitution;

  C.   Declare that the County Distribution Rule in Article II, Section 1g of the Ohio

       Constitution violates the Fourteenth Amendment to the United States Constitution;

  D.   Declare that Ohio Rev. Code § 3501.381, on its face and as applied to Plaintiffs, violates

       the First and Fourteenth Amendments to the United States Constitution;

  E.   Preliminarily and permanently enjoin the Secretary of State from enforcing the Summary

       Prerequisites against Plaintiffs, and order him to extend the deadline by which Plaintiffs

       must submit a referendum petition on H.B. 6 in its entirety to 90 days from the date of

       final judgment;

  F.   Preliminarily and permanently enjoin the Secretary from enforcing the County

       Distribution Rule in Article II, Section 1g of the Ohio Constitution against Plaintiffs and

       anyone similarly situated;

  G.   Preliminarily and permanently enjoin the Secretary and the Columbus City Attorney

       from enforcing Ohio Rev. Code § 3501.381 against Plaintiffs and anyone similarly

       situated;

  H.   Award Plaintiffs, pursuant to 42 U.S.C. § 1988, Fed. R. Civ. P. 54(d) and other applicable

       laws, their reasonable attorneys’ fees and costs; and

  I.   Grant such other and further relief to which the Plaintiffs may be entitled, in law or in

       equity.




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                                           Respectfully submitted,


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